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               In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                        No. 23-126V
                                    Filed: May 31, 2024
* * * * * * * * * * * * * *                 *
QUENTIN LEWIS                               *
on behalf of E.L., a minor,                 *
                                            *
               Petitioner,                  *
                                            *
v.                                          *
                                            *
SECRETARY OF HEALTH                         *
AND HUMAN SERVICES,                         *
                                            *
               Respondent.                  *
                                            *
* * * * * * * * * * * * * * *
Jeffrey A. Golvash, Esq., Golvash & Epstein, LLC, Pittsburgh, PA, for petitioner.
Madylan L. Yarc, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                                     RULING ON ENTITLEMENT1
Roth, Special Master:

        On January 27, 2023, Quentin Lewis (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program (“the Program”)2 on behalf of his
minor child E.L., alleging that he received Hepatitis A and measles, mumps, rubella, and
varicella (“MMRV”) vaccines on February 5, 2020, and thereafter suffered from immune
thrombocytopenia purpura (“ITP”). See Petition at 1.

        On May 31, 2024, respondent filed a report pursuant to Vaccine Rule 4(c) stating that
petitioner’s claim was appropriate for compensation. Resp. Rpt. at 1-2, ECF No. 34.
Specifically, respondent agrees with petitioner’s claim that E.L. suffered the Table injury of ITP
following the MMRV vaccine. Id. at 12. Respondent states he is satisfied that the criteria set
forth in the Table and the Qualification and Aids to Interpretation (“QAI”) with respect to the

1
  Because this decision contains a reasoned explanation for the action taken in this case, it must be made publicly
accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of 2002.
44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government Services). This
means the decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), petitioners have 14 days to identify and move to redact medical or other information, the disclosure of which
would constitute an unwarranted invasion of privacy. If, upon review, the undersigned finds that the identified
material fits within this definition, such material will be redacted from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease of
citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa (2018).
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MMRV vaccine have been satisfied. Id. Thus, respondent agrees that there is no other cause for
E.L.’s ITP and that E.L. suffered his condition in excess of six months. Therefore, petitioner has
satisfied all legal prerequisites for compensation under the Act.

        A special master may determine whether a petitioner is entitled to compensation based
upon the record. A hearing is not required. §300aa-13; Vaccine Rule 8(d). In light of
respondent’s concession and a review of the record, the undersigned finds that petitioner is
entitled to compensation. This matter shall now proceed to the damages phase.

       IT IS SO ORDERED.

                                                    s/Mindy Michaels Roth
                                                    Mindy Michaels Roth
                                                    Special Master




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